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                            UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


  F.V. and DANI MARTIN,
                                                         Case No. 1:17-CV-00170-CWD
                          Plaintiffs,

             v.                                         MEMORANDUM DECISION AND
                                                        ORDER (DKT. 28)
  RUSSELL BARRON,1 in his official
  capacity as Director of the Idaho
  Department of Health and Welfare;
  ELKE SHAW-TULLOCH, in her official
  capacity as Administrator of the Division
  of Public Health for the Idaho
  Department of Health and Welfare; and
  JAMES AYDELOTTE, in his official
  capacity as State Registrar and Chief of
  the Bureau of Vital Records and Health
  Statistics,

                          Defendants.




                                        INTRODUCTION

        Transgender individuals born in Idaho cannot obtain a birth certificate with the

listed sex matching their gender identity. The Idaho Department of Health and Welfare

(IDHW) interprets state law to bar changes to the listed sex unless an applicant can show


        1
          Russell Barron is now the Director of the Idaho Department of Health and Welfare. Pursuant to
Rule 25(d) of the Federal Rules of Civil Procedure, Russell Barron is substituted for Richard Armstrong
as a defendant in this suit.



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there was an error of identification at birth. Therefore, as a policy, IDHW categorically

and automatically denies applications to change the listed sex for any other reason. The

questions presented to the Court are whether IDHW’s interpretation, as applied, violates

the Equal Protection and Due Process clauses of the Fourteenth Amendment to the

Constitution of the United States, and whether it impermissibly compels speech in

violation of the First Amendment.

       As a preliminary matter, the Court notes the rare posture of the case. Plaintiffs,

two transgender women born in Idaho, bring this action under 42 U.S.C. § 1983, asking

the Court for a declaration that IDHW’s policy violates their constitutional rights and the

rights of others similarly situated. Plaintiffs request that the Court apply heightened

scrutiny review, and declare that IDHW’s policy violates the Equal Protection Clause.

They also seek a ruling that the policy infringes upon due process rights to informational

privacy, individual liberty, autonomy, and dignity. Plaintiffs request further that the Court

find that IDHW’s policy impermissibly compels speech in violation of the First

Amendment to the Constitution. Plaintiffs ask the Court to enjoin Defendants, and others

subject to the injunction, from enforcing the policy.

       In turn, Defendants do not defend the constitutionality of the policy. Instead, they

admit it is unconstitutional. Specifically, that it violates the Equal Protection Clause,

failing minimum scrutiny review because “a prohibition against changing the sex

designation on the birth certificate of a transgender individual who has undergone

clinically appropriate treatment to permanently change his or her sex” bears no rational

relationship to a conceivable government interest. (Ans. to First Am. Compl., Dkt. 19 at


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2-3 ¶ 5.) Defendants assert that, once they have an order from the Court in hand, they will

create a new rule permitting transgender individuals to change the sex listed on their birth

certificates. (Oral Argument at 9:50, F.V. v. Armstrong et al., No. 1:17-CV-00170-CWD

(February 1, 2018).) Defendants indicate also that the new rule will include a provision

that any revision history related to changes to the listed sex or name changes will not be

marked on the reissued birth certificates of transgender individuals. Defendants further

indicate they cannot proceed to create a rule until they receive a court order (Oral

Argument at 9:51, F.V. v. Armstrong et al., No. 1:17-CV-00170-CWD (February 1,

2018).)

       Defendants assert that, because they have made these concessions, the Court

should exercise judicial restraint and decide the Plaintiffs’ motion on the narrowest

ground—that the current policy, as applied, is not rationally related to a legitimate

government interest, violates the Plaintiffs’ equal protection rights, and is thus

unconstitutional under minimum scrutiny review.

       Plaintiffs counter that, in the face of pervasive government discrimination against

transgender individuals, the Court has a constitutional duty and inherent authority to

define the level of scrutiny that should be applied to their equal protection claim, and

should determine favorable judgment is warranted on the basis of the other constitutional

claims—in addition to fashioning a remedy mandating equal treatment.

       The Court will not reach Plaintiffs’ Due Process or First Amendment claims for

the following reasons. First, the Court finds resolution of the Equal Protection Clause

claim captures “the essence of the right in a more accurate and comprehensive way” than


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the Due Process Clause, “even as the two Clauses may converge in the identification and

definition of the right.” Obergefell v. Hodges, 135 S. Ct. 2584, 2603 (2015). The

substance of Plaintiffs’ First Amendment claim is that if a birth certificate is reissued to a

transgender individual, and the reissued birth certificate includes the revision history, it

will impermissibly compel speech—i.e. it will force an individual to disclose their

transgender status when they would not ordinarily do so. Given Defendants’ concession

and agreement, the compelled speech concern falls away, and the merits of this claim

need not be addressed by the Court.

       After careful consideration, the Court finds IDHW’s policy of categorically and

automatically denying applications submitted by transgender individuals to change the

sex listed on their birth certificates is unconstitutional under the Equal Protection Clause

of the Fourteenth Amendment. The Court finds further that any constitutionally sound

rule must not include the revision history as to sex or name to avoid impermissibly

compelling speech and furthering the harms at issue. The Court notes also that the new

rule should withstand heightened scrutiny review to fall within the contours of equal

protection law. To reasonably assure the rule and remedy comply with such existing law,

the Court will discuss the same after presenting the background, introducing the parties,

and outlining the standard of review.

                                      BACKGROUND

1.     Idaho Vital Statistics Laws

       States are responsible for the development and implementation of laws related to

vital events such as recording births and deaths. However, most states, including Idaho,


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use the Model State Vital Statistics Act published by the Centers for Disease Control and

Prevention as a basis for state law.2 The Idaho Vital Statistics Act (Act), Title 39, Chapter

2 of the Idaho Code, authorizes the Idaho Board of Health and Welfare (Board) to

propose rules to carry out its provisions related to vital statistics—the Vital Statistics

Rules (Rules). IDAPA 16.02.08.000. IDHW is the state agency responsible for

enforcement of the Act and the Rules, (together, vital statistics laws) for providing the

official interpretation of such laws, and for developing temporary and final proposed

rules. State legislative approval is necessary to enact final proposed rules into law.

        Idaho’s vital statistics laws require that all amended birth certificates be marked as

“amended,” including a record of the nature of the change, unless the change is made

under one of the following circumstances: (1) minor corrections made within one year

after the date of the event necessitating the correction; (2) voluntary acknowledgements

of paternity and non-paternity; and (3) for changes to name and paternal and maternal

information in instances of adoption. Idaho Code §§ 39-250, 39-258-59; IDAPA

16.02.08.201. In these circumstances, the vital statistics laws require the amendments not

be marked or noted on the birth certificate.3 A catch-all provision applies to any



        2
         See Model State Vital Statistics Act and Model State Vital Statistics Regulations, 2011 Revision,
Centers for Disease Control and Prevention. Idaho’s Vital Statistic Act is based in large part on the 1992
Revision of the model rules.
        3
          For example: Idaho Code § 7-1106 allows a biological father to establish paternity via an
affidavit of paternity. The affidavit must be signed by both the father and the birth mother. IDAPA
16.02.08.201.05.a. If the child’s birth certificate lists a different person as the father, a court order is
required to change the father’s name. IDAPA 16.02.08.201.05.b. The reissued, amended birth certificate
must not be marked amended or include any record of the paternity change. I.C. § 39-250(2), (3); IDAPA
16.02.08.201.05.c.



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amendment not specifically provided for in the vital statistics laws. IDAPA

16.02.08.201.08. Notably, amendments made under the catch-all provision must be

described on the birth certificate.

        All applications to amend birth certificates are reviewed by the state registrar. The

registrar’s determination must serve the objectives of the vital statistics laws and the best

interests of the public. IDAPA 16.02.08.201(e). When applications are denied, an

individual has a right to petition a court for an order requiring the registrar make the

requested amendment. Idaho Code § 39-250(5).

        As explained above, IDHW interprets Idaho vital statistics law to prohibit changes

to the listed sex unless there was an error in recording the sex at birth. Notably, IDHW

asserts that Idaho birth certificates reflect the “sex” of a person at birth and do not contain

a “gender marker” designation. (Ans. to First Am. Compl., Dkt. 23 at 2 ¶¶ 3-4.) From this

interpretation comes IDHW’s policy of automatically and categorically denying

applications made by transgender individuals for the purpose of changing the listed sex to

reflect their gender identity.4

2.      Biological Sex, Gender Identity, Transition

        There is scientific consensus that biological sex is determined by numerous

elements, which can include chromosomal composition, internal reproductive organs,




        4
         Idaho counts as one of only four remaining states that do not permit transgender individuals to
change the sex listed on their birth certificate. The other three states are Kansas, Ohio, and Tennessee.
(Pl.s’ Mem. of Law in Support of Mot. for Summ. Jgmt., Dkt. 28-1 at 19 n. 4.)




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external genitalia, hormone prevalence, and brain structure.5 Sex determinations made at

birth are most often based on the observation of external genitalia alone. World

Professional Association for Transgender Health, Standards of Care for the Health of

Transsexual, Transgender, and Gender Nonconforming People at 97 (7th Version, 2011)

(hereinafter “WPATH Standards of Care”). For most people, this determination aligns

with gender identity and gender expression. Id. Of importance here, however, are

instances where it does not.

        Gender identity, also known as core gender, is the intrinsic sense of being male,

female, or an alternative gender. WPATH Standards of Care at 96. Transgender is an

adjective used to designate “a person whose identity does not confirm unambiguously to

conventional notions of male or female gender.”6 Put another way, transgender is an

adjective used to describe a person who has a gender identity that differs, in varying

degrees, from the sex observed and assigned at birth. WPATH Standards of Care at 97.

        Transgender individuals often suffer emotional distress in the process of

recognizing and responding to the complex social and personal scenarios that result

because their gender identity does not align with birth-assigned sex. (Dkt. 28-5 at 8; See

e.g., American Medical Association Resolution 122 (A-08) at 1 (2008)). A clinical



        5
         The American Psychology Association defines sex as “one’s biological status as either male or
female” that “is associated primarily with physical attributes such as chromosomes, hormone prevalence,
and external and internal anatomy.” Transgender People, Gender Identity and Gender Expression,
American Psychological Association (2018), http://www.apa.org/topics/lgbt/transgender.aspx (last visited
Mar. 3, 2018).
        6
          Transgender, OXFORD ENGLISH DICTIONARY, http://www.oed.com/view/Entry/247649?
redirectedFrom=transgender#eid (last visited Feb. 7. 2018).



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medical condition, known as gender dysphoria, can result from such distress.7 Id.

Symptoms include anxiety and depression, suicidality, and other serious mental health

issues. Id.; WPATH Standards of Care at 25.

      Transgender individuals, especially those suffering from gender dysphoria, often

proceed through a process known as transition, defined as follows:

      Transition is a period of time when individuals change from the
      gender role associated with their sex assigned at birth to a different
      gender role. For many people, this involves learning how to live
      socially in another gender role; for others this means finding a gender
      role and expression that is most comfortable for them. Transition may
      or may not include feminization or masculinization of the body
      through hormones or other medical procedures. The nature and
      duration of transition is variable and individualized.

WPATH Standards of Care at 97.

      In other words, transition is the process where a person works to bring their lived

experience and outer appearance into alignment with their gender identity. Transition can

include medical treatments, such as hormone therapy and surgery, but is often limited to


      7
          The American Psychiatric Association describes gender dysphoria as follows:

                People with gender dysphoria may often experience significant distress
                and/or problems functioning associated with this conflict between the way
                they feel and think of themselves (referred to as experienced or expressed
                gender) and their physical or assigned gender.

                The gender conflict affects people in different ways. It can change the way
                a person wants to express their gender and can influence behavior, dress
                and self-image. Some people may cross-dress, some may want to socially
                transition, others may want to medically transition with sex-change
                surgery and/or hormone treatment. Socially transitioning primarily
                involves transitioning into the affirmed gender’s pronouns and bathrooms.

      Gender Dysphoria, American Psychiatric Association, Physician review by Ranna
      Parekh, M.D., M.P.H. (February 2016), https://www.psychiatry.org/patients-
      families/gender-dysphoria/what-is-gender-dysphoria (last visited Mar. 5, 2018).



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social transition. WPATH Standards of Care at 71, 97. Not all transgender people choose

to undergo surgery as a part of the transition process. This is due to numerous potential

factors, including whether surgery is medically necessary, and personal and financial

factors such as lack of insurance coverage. (See First Am. Compl., Dkt. 19 at 6 ¶ 24; see

also Ans. to First Am. Compl., Dkt. 19 at 5 ¶ 24.)

        Social transition includes changes in clothing, name, pronouns, hairstyle, and

identity documents to reflect one’s gender identity. Id. at 9-10. “A complete transition is

one in which a person attains a sense of lasting personal comfort with their gendered self,

thus maximizing overall health, well-being, and personal safety.” (Decl. of Dr. Randi

Ettner, Dkt. 28-5 at 10.)

3.      Discrimination Against Transgender Individuals

        Mismatches between identification documents and outward gender presentation

can create risks to the health and safety of transgender people. Transgender people who

present mismatched identification are verbally harassed, physically assaulted, denied

service or benefits, or asked to leave the premises. James et al., The Report of the 2015

U.S. Transgender Survey, Washington D.C., National Center for Transgender Equality at

7 (2016) (hereinafter Transgender Survey).8 According to the Federal Bureau of



        8
          Defendants note the survey “acknowledges that respondents in the study ‘were not randomly
sampled and the actual population characteristics of transgender people in the U.S. are not known.
Therefore, it is not appropriate to generalize the findings in this study to all transgender people.’” (Dkt.
19-6). The Court similarly acknowledges the limitations of the survey. Yet, the survey is also “the largest
survey examining the experiences of transgender people in the United States, with 27,715 respondents
from all fifty states ...” (Transgender Survey at 4.) Thus, the Court views the statistics presented in the
report as a reliable indicator of harassment and violence across the population.



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Investigation, 1.7 percent of all hate crimes reported by law enforcement agencies in the

United States in 2015 were motivated by gender-identity bias. 2015 Hate Crime

Statistics, FBI, Criminal Justice Information Services Division, https://ucr.fbi.gov/hate-

crime/2015/topic-pages/victims_final.pdf (last visited Mar. 5, 2018).

       Statistics regarding the ongoing discrimination transgender individuals face

highlight why involuntary disclosure of transgender status creates these risks. For

instance, nearly twenty-five percent of surveyed college students, when perceived as a

transgender person, were verbally, physically, or sexually assaulted in 2015. Transgender

Survey at 9. This figure tracks the percentage of workers reporting mistreatment in the

workplace due to gender identity. Id. at 10. More than seventy-five percent of transgender

workers take steps to avoid such mistreatment at work by hiding or delaying their gender

transition, or by quitting their job. Id. at 11.

       Across all environments, almost fifty percent of transgender people surveyed for

the 2015 report responded that they had been verbally harassed due to their gender

identity. Id. at 13. Nearly one in ten reported being physically assaulted because of their

gender identity. Id. Notably, the reported lifetime suicide attempt rate for transgender

people is nearly nine times the rate of the United States population on average. Id. at 8.

4.     The Plaintiffs

       Plaintiffs are two transgender women who were born in Idaho. Each Plaintiff has

undergone the process of transition but is unable to obtain a birth certificate that reflects

her gender identity.




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        F.V. is a 28-year-old woman born in Idaho. She is a transgender person who was

assigned the sex of male at birth. Although F.V. states that she knew from approximately

age 6 she was female, she began to live openly as a female when she was 15 years old.

She has lived as a woman since that time, and asserts that doing so has been essential to

her sense of self. F.V. relates that she “cannot imagine living life as a man” because she

is not a man, and would be living a lie to try to do so. (Decl. of F.V., Dkt. 28-3 at 2.)

        F.V. has taken steps, both medically and socially, to bring her body and expression

of gender in line with her female gender identity.9 Her social transition has included

legally changing her name from a traditionally male name to a traditionally female one,

and changing her name and gender on her driver’s license, passport, and in her social

security records. On March 17, 2017, F.V. contacted the Idaho Bureau of Vital Records

and Health Statistics to inquire about changing the sex listed on her birth certificate. She

was informed that IDHW does not consider such applications.

        F.V. asserts that living with a birth certificate declaring she is male is a permanent

and painful reminder that Idaho does not recognize her as she is—as a woman. Beyond

this, she states that presenting an identity document that conflicts with her gender identity

is both humiliating and dangerous: it puts her at risk of violence by disclosing against her

will and intentions that she is a transgender individual.



        9
          Defendants “admit that they are aware of no rational basis justifying a prohibition against
changing the sex designation on the birth certificate of a transgender person who has undergone clinically
appropriate treatment to permanently change his or her sex.” (Ans. to First Am. Compl., Dkt. 23 at 2-3.)
Defendants concede also, “that no rational basis justifies treating transgender persons like Plaintiffs
differently than other persons.” (Dkt. 23 ¶ 5.)



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        Dani Martin (Dani) is a 31-year-old woman born in Idaho. Dani is a transgender

person who was assigned the sex of male at birth. Like F.V., Dani states that she knew

from a young age she was female. However, fear of rejection and bullying prevented her

from coming out when she was younger. With the support of her spouse and her family,

Dani began to transition in 2014. She has lived her life openly as a woman since that

time.

        Like F.V., Dani has taken steps, both medically and socially, to bring her body and

expression of gender in line with her female identity. Her social transition has included

legally changing her name from a traditionally male name to a traditionally female one,

and changing her name and gender on her driver’s license and in her social security

records. Like F.V., Dani has been unable to change the gender on her birth certificate due

to Idaho’s prohibitory policy.

        The mismatch between Dani’s gender identity and the sex listed on her birth

certificate has exposed her to harassment and embarrassment. She asserts the mismatch

has also prevented her from making the change in other important records—perpetuating

instances where she is forced to disclose her transgender status, face embarrassment,

harassment, and potential physical violence.

5.      The Defendants

        The three Defendants are employees of IDHW. As supervisors and custodians of

records, they are each variously responsible for the implementation, enforcement,

development, and interpretation of Idaho’s vital statistics laws.




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       Defendant Russell Barron is the Director of IDHW. He supervises the activities of

IDHW, including the enforcement of the Vital Statistics Act, Vital Statistics Rules, and

the agency’s policies and interpretations of such laws.

       Defendant Elke Shaw-Tullock is the Administrator of IDHW’s Division of Public

Health. The division includes the Bureau of Vital Records and Health Statistics. She

supervises activities of the division, including enforcement of the Vital Statistics Act,

Vital Statistics Rules, and the agency’s policies and interpretations of such laws.

       Defendant James Aydelotte is the State Registrar and Bureau Chief of the Bureau

of Vital Records and Health Statistics at IDHW. He is the official custodian of vital

records for the State of Idaho and also enforces the Vital Statistics Act, Vital Statistics

Rules, and the agency’s policies and interpretations of such laws.

                                STANDARD OF REVIEW

1.     Standard of Review for Summary Judgment Motions

       Summary judgment is appropriate where a party can show, as to any claim or

defense, “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). One of the principal purposes of

summary judgment “is to isolate and dispose of factually unsupported claims....” Celotex

Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). It is “not a disfavored procedural

shortcut,” but is instead a tool to prevent factually insufficient claims or defenses “from

going to trial with the attendant unwarranted consumption of public and private

resources.” Id. at 327.




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       “The moving party is entitled to summary judgment if that party shows that each

issue of material fact is not or cannot be disputed. To show the material facts are not in

dispute, a party may cite to particular parts of materials in the record, or show that the

materials cited do not establish the presence of a genuine dispute, or that the adverse

party is unable to produce admissible evidence to support the fact.” Ransier v. United

States, No. 2:12-CV-00538-EJL, 2014 WL 5305852, at *2 (D. Idaho Oct. 15, 2014); Fed.

R. Civ. P. 56(c)(1)(A) & (B).

       Federal Rule of Civil Procedure 56(e)(3) authorizes a court to grant summary

judgment for the moving party “if the motion and supporting materials—including the

facts considered undisputed—show that the movant is entitled to it. The existence of a

scintilla of evidence in support of the non-moving party’s position is insufficient. Rather,

‘there must be evidence on which the jury could reasonably find for the [non-moving

party].’” Ransier at *2 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

(1986)).

2.     Standard for Permanent Injunction

       To prevail on a motion for a permanent injunction, plaintiffs must demonstrate:

(1) they have suffered an irreparable injury or harm; (2) remedies available at law are

inadequate to compensate for such injury or harm; (3) considering the balance of

hardships between the parties, an equitable remedy is warranted; and (4) public interest is

not disserved by a permanent injunction. eBay Inc. v. MercExchange, L.L.C., 547 U.S.

388, 391 (2006).




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       When a court grants injunctive relief, it must tailor the remedy to the specific harm

shown by plaintiffs. Hawaii v. Trump, 859 F.3d 741, 785 (9th Cir.), cert. granted sub

nom. Trump v. Int'l Refugee Assistance Project, 137 S. Ct. 2080, 198 L. Ed. 2d 643

(2017), and cert. granted, judgment vacated, 138 S. Ct. 377 (2017), and vacated, 874

F.3d 1112 (9th Cir. 2017); Califano v. Tamasaki, 422 U.S. 682, 702 (1979). The scope of

the remedy fashioned by a court is dictated by the extent of the violation established by

the plaintiffs. 859 F.3d 741, 785. Aside from these parameters, a court has significant

discretion in fashioning an appropriate and proportionate remedy. Id.

                                LEGAL FRAMEWORK

1.     The Equal Protection Clause

       The Equal Protection Clause of the Fourteenth Amendment requires that all

similarly situated people be treated alike. City of Cleburne v. Cleburne Living Ctr., Inc.,

473 U.S. 432, 439 (1985). Equal protection requirements restrict state legislative action

that is inconsistent with bedrock constitutional guarantees, such as equality in treatment.

See Obergefell v. Hodges, 135 S. Ct. 2584, 2603 (2015). An equal protection claim is

established when plaintiffs show they were treated differently than other similarly

situated people. City of Cleburne at 439-440. Yet, states are given significant leeway to

establish laws to effectively govern citizens and remedy societal ills. Romer v. Evans, 517

U.S. 620, 631 (1996). Because of this, successful equal protection claims additionally

require plaintiffs to show the difference in treatment was the result of intentional or

purposeful discrimination. Stone v. Trump, No. CV MJG-17-2459, 2017 WL 5589122, at

*15 (D. Md. Nov. 21, 2017).


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       In this matter, Plaintiffs, transgender individuals born in Idaho, have adequately

alleged they were treated differently from non-transgender people born in Idaho. IDHW

practices a policy of automatically and categorically denying applications made by

transgender people to amend the birth-assigned sex on their birth certificates to align with

their gender identity. Plaintiff F.V. contacted IDHW to inquire about amending her birth

certificate to align with her gender identity. IDHW informed F.V., consistent with its

policy, that it does not consider applications made on that basis. Plaintiff Dani Martin’s

experience was the same. The IDHW Defendants provide no justification for the policy.

       Yet, in turn, IDHW permits some classes of people, adoptive parents for instance,

to make amendments to birth certificates without record of the amendment on the

reissued certificate. IDHW has similar laws and policies related to the change of paternal

information. These laws give certain people access to birth certificates that accurately

reflect who they are, while denying transgender people, as a class, access to birth

certificates that accurately reflect their gender identity. Therefore, as Defendants

concede, Plaintiffs’ equal protection claims are valid.

       The Supreme Court of the United States has set forth a framework of tiered review

for equal protection claims. Latta v. Otter, 19 F. Supp. 3d 1054, 1073 (D. Idaho), aff’d,

771 F.3d 456 (9th Cir. 2014). Each tier of scrutiny requires a different level of

justification for the challenged law. Id. The level of scrutiny applied to the law is

determined by the type of classification at issue. Id. If a law classifies on the basis of a

suspect class or a quasi-suspect class, it is subject to heightened scrutiny review—and,

depending on the type of suspect classification, such laws are subject to either strict


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scrutiny review or intermediate scrutiny review. If a law does not classify on the basis of

a suspect or quasi-suspect class, it is subject to minimum scrutiny—commonly called

rational basis review. Heller v. Doe, 509 U.S. 312, 319–21 (1993).

       Therefore, the most stringent level of review is strict scrutiny. The Supreme Court

has carefully defined the limits of this level of review. It is applied when laws

impermissibly interfere with fundamental rights or to the disadvantage of a suspect class.

Latta, 19 F. Supp.3d at 1073. Strict scrutiny applies to classifications based on race,

alienage, and national origin. IDWH’s policy makes a classification based on transgender

status. Therefore, under clear Supreme Court precedent, it does not trigger strict scrutiny

review.

       In contrast, the most lenient level of scrutiny is rational basis review. This level of

review is applied to laws that impose a difference in treatment between groups but do not

infringe upon a fundamental right, or target a suspect or quasi-suspect class. Heller at

319–21. In such instances, if a court can identify any rational basis supportive of the

government’s need for the law, it is upheld. Id. In this matter, IDHW Defendants concede

no rational basis exists to support the categorical denial of requests to amend sex-

assigned birth on the basis of correcting it to match one’s gender identity.

       The Court notes the importance and potential implications of restrictions and

restraints IDHW may place on the ability of transgender people to apply for and receive

approval of applications to change the sex listed on their birth certificates. Because the

Court does not have a proposed rule before it, it will not extrapolate on the potential legal

ramifications of such restrictions—such topics are not ripe for its consideration.


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However, any new rule must not subject one class of people to any more onerous burdens

than the burdens placed on others without constitutionally-appropriate justification—for

instance, to apply for a change in paternity information the applicant is not required to

submit medical evidence, such as DNA confirmation, to prove paternity or non-paternity.

Yet, all applicants for name changes are required to obtain a court order—regardless of

the reason for the change. (See supra note 3 and accompanying text.)

       The Court agrees there is no rational basis to support IDHW’s policy. The

following facts make this conclusion apparent: (1) IDHW already has a process in place

for making amendments to birth certificates, as is evidenced by Idaho’s vital statistics

laws; (2) the vital statistics laws make certain that amendments or corrections are kept

confidential when they pertain to sensitive personal and potentially private information,

such as paternity or adoptive status; and (3) the laws make room for the amendment of

any other information on the birth certificate with the proper form of application and

evidence.

       Thus, under an alternative, constitutionally-sound reading of Idaho’s vital statistics

laws, amendments to the listed sex are not only possible, but procedures are in place to

facilitate such amendments—and the Act allows the Board to draft a rule that does just

that.10 As such, there is no rational basis for denying transgender individuals birth

certificates that reflect their gender identity and IDHW’s policy, as applied, violates the

Equal Protection Clause.


       10
            Idaho Code §§ 39-241(3); 39-250.



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       Yet, as explained above, Plaintiffs ask the Court to take a step further to find that

IDHW’s policy similarly fails to withstand heightened scrutiny, which includes the mid-

tier of equal protection review—intermediate scrutiny. Historically, intermediate scrutiny

applies to quasi-suspect classifications based on sex and illegitimacy. Clark v. Jeter, 486

U.S. 456, 461 (1988). For quasi-suspect classifications to be upheld, the state must show

the classification is substantially related to an important governmental objective. “The

purpose of this heightened level of scrutiny is to ensure quasi-suspect classifications do

not perpetuate unfounded stereotypes or second-class treatment.” Latta v. Otter, 19 F.

Supp. 3d 1054, 1073 (D. Idaho), aff’d, 771 F.3d 456 (9th Cir. 2014) (citing United States

v. Virginia, 518 U.S. 515, 534 (1996)).

       Plaintiffs argue that IDHW’s refusal to treat transgender people like others of the

same sex, i.e. other males or females, requires intermediate review because such

treatment discriminates on the basis of sex or otherwise employs another quasi-suspect

classification—transgender status. In other words, Plaintiffs suggest two ways for the

Court to conclude that heightened scrutiny applies to government classifications based on

transgender status. The first—the Court could find that discrimination based on

transgender status is discrimination based on sex or gender. The second— the Court

could conclude that transgender status is a suspect classification in and of itself. In either

case, Plaintiffs contend IDHW’s policy is not substantially related to an important

governmental objective and fails intermediate scrutiny review. The merits of both prongs

of the Plaintiffs’ argument will be discussed in turn.




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    A.          Discrimination Based on Sex and Gender

         In 1977, the United States Court of Appeals for the Ninth Circuit held rational

basis review appropriately applied to classifications based on “transsexual” status,

because sex-based discrimination in the context of Title VII included only discrimination

based on one’s anatomical gender—not a change in one’s gender or gender identity.

Holloway v. Arthur Andersen & Co., 566 F.2d 659 (9th Cir. 1977). Although the Ninth

Circuit has not revisited the question, the reasoning employed in Holloway relies on

markedly outdated notions of sex and gender that strongly indicate, that should it be

presented today, the same holding would not issue.11

         The Supreme Court’s decision in Price Waterhouse is particularly important to the

development of a more robust understanding of sex-based gender discrimination in the

law. Price Waterhouse, 490 U.S. 228, 240 (1989). There, the Court held that Title VII

bars discrimination based on the fact that a person is a woman or a man, and based on the

fact that a person fails to act like a woman or a man—i.e. it protects people from

discrimination based on their failure to adhere to society’s expectations of traditional

gender roles. Id.

         In 2000, the Ninth Circuit employed the reasoning from Price Waterhouse in a

new statutory context. Schwenk v. Hartford, 204 F.3d 1187, 1202 (9th Cir. 2000). In

Schwenk, the Ninth Circuit held that violence perpetrated against a transgender person,


         11
           At that time, the court found that “transsexuals” were not an insular minority, and found also
that transsexuality was not a “immutable characteristic determined solely by accident of birth.” Id. at 663-
64. The court remarked: “[T]he complexities involved merely in defining the term ‘transsexual’ would
prohibit a determination of suspect classification for transsexuals.” Holloway at 663 (footnote omitted).



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because they presented as a certain gender, was violence motivated by gender for

purposes of the Gender Motivated Violence Act. Id. Since Schwenk, at least one court in

the Ninth Circuit has held Schwenk’s reasoning supports the follow-on conclusion that

discrimination against transgender people is a form of sex discrimination subject to

intermediate scrutiny review. Norsworthy v. Beard, 87 F. Supp. 3d 1104, 1121 (N.D. Cal.

2015) (where the court found that Schwenk overruled the specific conclusions on which

the Holloway decision relied); see also Olive v. Harrington, 2016 WL 4899177, at *5

(E.D. Cal. Sept. 14, 2016) and Marlett v. Harrington, No. 115CV01382MJSPC, 2015

WL 6123613, at *4 (E.D. Cal. Oct. 16, 2015) (pro se screening orders citing Norsworthy,

stating discrimination on the basis of transgender status is subject to intermediate

scrutiny).

       Of particular importance, significant changes in the medical understanding of

gender identity call for a reexamination of its place in the equal protection context in

relation to sex-based discrimination. Duronslet v. Cty. of Los Angeles, 266 F. Supp. 3d

1213, 1223 (C.D. Cal. 2017) (discussing advances since Holloway v. Arthur Andersen &

Co., 566 F. 2d 659 (9th Cir. 1977). “[I]t would not be inconsistent with Holloway … to

conclude, based on an adequately developed factual record, that our current

understanding of transgenderism requires the application of heightened scrutiny.” Id.

       Indeed, our medical understanding of biological sex and gender has advanced

significantly in the forty-one years since Holloway. For instance, it is universally

acknowledged in leading medical guidance that not all individuals identify as the sex they




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are assigned at birth.12 Despite the ongoing study to more fully understand the impact of

differences in chromosomes, brain structure and chemistry, there is medical consensus

that gender identity plays a role in an individual’s determination of their own sex.

Therefore, to conclude discrimination based on gender identity or transsexual status is not

discrimination based on sex is to depart from advanced medical understanding in favor of

archaic reasoning.

    B.          Defining New Suspect Qualifications – Transgender Status

         In the equal protection context, the Supreme Court “has recognized that new

insights and societal understandings can reveal unjustified inequality […] that once

passed unnoticed and unchallenged.” 13 Obergefell v. Hodges, 135 S. Ct. 2584, 2603

(2015). The Supreme Court employs a four-factor test to determine whether a class

qualifies as suspect or quasi-suspect. United States v. Windsor, 570 U.S. 744 (2013).

Heightened scrutiny is warranted where the state discriminates against a class that (1) has

been “historically subjected to discrimination,” (2) has a defining characteristic bearing

no “relation to ability to perform or contribute to society,” (3) has “obvious, immutable,


         12
           As set forth in WPATH Standards of Care protocols for the care of transgender and gender
nonconforming people, including individuals with gender dysphoria. The WPATH protocols are endorsed
by the following medical associations: The American Medical Association, the Endocrine Society, the
American Psychological Association, the American Psychiatric Association, the World Health
Organization, the American Academy of Family Physicians, the National Commission of
Correctional Health Care, the American Public Health Association, the National Association of
Social Workers, the American College of Obstetrics and Gynecology, the American Society of
Plastic Surgeons, and The American Society of Gender Surgeons. (See Dkt. 28-5 at 8.)
         13
           Responding to such insights and societal understandings, the Supreme Court has invalidated
laws that imposed sex-based inequality in marriage, and inequalities in the institution of marriage arising
from sex-based prohibitions. See Obergefell v. Hodges, 135 S. Ct. 2584, 2604 (2015).




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or distinguishing characteristics,” and (4) is “a minority or is politically powerless.”

Windsor v. United States, 570 U.S. 744 (2013).

        Courts have applied this test and have found that government discrimination based

on transgender status is discrimination against a quasi-suspect class and thus is subject to

intermediate scrutiny. Adkins v. City of New York, 143 F. Supp. 3d 134 (S.D.N.Y.

2015).14 For example, in Adkins, a transgender person who had been arrested and

imprisoned sued New York City and its officials, alleging equal protection violations

based on discriminatory confinement conditions. Id. The court employed the test and

found transgender people are a quasi-suspect class:

        (1) Transgender people have suffered a history of persecution and
        discrimination (moreover this history of persecution and discrimination is
        not yet history); (2) Transgender status bears no relation to ability to
        contribute to society- i.e. simply by virtue of their status they are not any less
        productive than any member of society; (3) Transgender status is a
        sufficiently discernible characteristic to define a discrete minority class; (4)
        Transgender people are a politically powerless minority.

Id.

        Similarly, in Evancho v. Pine-Richland School Dist., the court concluded

intermediate scrutiny applies to classifications based on transgender status. 237 F. Supp.

3d 267 (W.D. Pa. 2017). There, pursuant to a school board resolution, transgender high



        14
            See Stone v. Trump, No. CV MJG-17-2459, 2017 WL 5589122 (D. Md. Nov. 21, 2017)
(finding transgender individuals appear to satisfy the criteria of at least a quasi-suspect classification, and
that the classification at issue was a form of discrimination on the basis of gender); A.H. v. Minersville
Area School District, No. 3:17-CV-391, 2017 WL 5632662, at *7 (M.D. Pa. Nov. 22, 2017) (both the
parties and the court agreed heightened scrutiny applied to a transgender girl’s equal protection claims
when she was excluded from using the girl’s bathroom at school because the sex listed on her birth
certificate was male).



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school students were limited to using either single-user bathrooms or bathrooms

matching their birth-assigned sex. The court acknowledged that the transgender students’

gender identity was:

       … deeply ingrained and inherent in their very beings. Like “sex,” […] gender
       identity is neither transitory nor temporary. Further, what buttresses that
       conclusion is the fact that the school community as a whole treats these
       Plaintiffs in all other regards consistently with their stated gender identities,
       along with the reality that these Plaintiffs live all facets of their lives in a
       fashion consistent with their stated and experienced gender identities.

Id. at 289.

       The findings in Adkins and Evancho echo findings made regarding homosexual

people as a class and recognized by this Court in Latta, the Ninth Circuit in SmithKline,

and the Supreme Court in Windsor and Obergefell. Applying the four factor analysis, the

cases found: (1) homosexual people have endured persecution and discrimination; (2)

sexual orientation has no relation to aptitude or ability to contribute to society; (3)

homosexual people are a discernable group with non-obvious distinguishing

characteristics; and (4) the class is a politically weakened minority.

       The pervasive and extensive similarities in the discrimination faced by transgender

people and homosexual people are hard to ignore: (1) transgender people have been the

subject of a long history of discrimination that continues to this day; (2) transgender

status as a defining characteristic bears no “relation to ability to perform or contribute to

society; (3) transgender status and gender identity have been found to be “obvious,

immutable, or distinguishing characteristic[s];” and (4) transgender people are

unarguably a politically vulnerable minority. Norsworthy, 87 F. Supp. 3d at 1119 n.8;



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Adkins, 143 F. Supp. 3d at 140; See generally, SmithKline Beecham Corp. v. Abbott

Labs., 740 F.3d 471, 481-84 (9th Cir. 2014). This is especially true in Idaho where

transgender people have no state constitutional protections from discrimination based on

their transgender status in relation to employment decisions, housing, and other services.

Therefore, transgender people bear all of the characteristics of a quasi-suspect class and

any rule developed and implemented by IDHW should withstand heightened scrutiny

review to be constitutionally sound.

                                       CONCLUSION

       Defendants, as conceded, violate the Equal Protection Clause by failing to provide

an avenue for transgender people to amend the sex listed on their birth certificates.

Plaintiffs have sufficiently demonstrated that they have suffered irreparable injury and

harm that cannot be remedied by ordinary remedies at law—and by Defendants’

acknowledgment, IDHW cannot proceed to create a new rule to remedy the harm without

a court order. Furthermore, the balance of the hardships warrants an equitable remedy,

because allowing such amendments would pose no new burden on Defendants: Idaho

vital statistics laws allow IDHW to create and implement a constitutionally-sound rule,

and IDHW already has in place processes and procedures to facilitate the amendment of

birth certificates in the ordinary course of its everyday activities. Finally, the public

interest is not disserved by a permanent injunction. A rule providing an avenue to obtain

a birth certificate with a listed sex that aligns with an individual’s gender identity

promotes the health, well-being, and safety of transgender people without impacting the

rights of others.


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                                   ORDER

          NOW THEREFORE IT IS HEREBY ORDERED:

    1)   The Court GRANTS in part and DENIES in part Plaintiff’s Motion for
         Summary Judgment. (Dkt. 28.)

    2)   The Court PERMANENTLY ENJOINS the IDHW Defendants and their
         officers, employees, and agents from practicing or enforcing the policy of
         automatically rejecting applications from transgender people to change the
         sex listed on their birth certificates.

    3)   IDHW Defendants and their officers, employees, and agents must begin
         accepting applications made by transgender people to change the sex listed
         on their birth certificates on or before April 6, 2018; such applications
         must be reviewed and considered through a constitutionally-sound approval
         process; upon approval, any reissued birth certificate must not include
         record of amendment to the listed sex; and where a concurrent application
         for a name change is submitted by a transgender individual, any reissued
         birth certificate must not include record of the name change.

    IT IS SO ORDERED.


                                                            March 05, 2018




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